Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 1 of 38

EXHIBIT 11
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 2 of 38
8/30/2021 Register of Actions - 2018CV309704

EJ8

Case Summary

Case No. 2018CV309704

JANET HILL VS. RUBIN LUBLIN, LLC, § Location
BAYVIEW LOAN SERVICING § EJ8
§ Judicial Officer
§ COX, THOMAS A., Jr.
§ Filed on
§ 08/29/2018

 

Case Information

 

Case Type: OTHER CIVIL CAUSE OF
ACTION

Case Status: 07/02/2019 Closed

Statistical Closures
07/02/2019 Dismissed with Prejudice

 

Party Information

 

Lead Attorneys
PLAINTIFF HILL, JANET PRITCHETT, STEVEN J
Retained

DEFENDANT BAYVIEW LOAN SERVICING MENDEL, JARROD
Retained

RUBIN LUBLIN, LLC CHANESS, BRET J.
Retained

 

Events and Orders of the Court

 

06/29/2021
FINAL ORDER

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions#V/0A24FF22700B5BD956E7881A8D340F4416107D2F7F41006B6EC68740FA... 1/4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 3 of 38
8/30/2021 Register of Actions - 2018CV309704

06/28/2021 MOTIONS HEARING (10:00 AM) (Judicial Officer: COX, THOMAS A., Jr.)

06/25/2021
MOTION

06/08/2021
NOTICE OF HEARING

06/03/2021 MOTIONS HEARING (10:00 AM) (Judicial Officer: COX, THOMAS A., Jr.)

05/27/2021
REQUEST

05/21/2021
LEAVE OF ABSENCE

05/21/2021
MOTION

05/21/2021
ENTRY/NOTICE OF APPEARANCE

05/20/2021
NOTICE OF HEARING

09/03/2019 RETURN RECEIPT OF CERT MAIL
08/12/2019 RETURN RECEIPT OF CERT MAIL
08/12/2019 RETURN RECEIPT OF CERT MAIL

08/09/2019
AMENDED NOTICE OF APPEAL

08/05/2019
ORDER

07/19/2019
AMENDED NOTICE OF APPEAL LETTER

07/19/2019
AMENDED NOTICE OF APPEAL LETTER

07/19/2019
NOTICE OF APPEAL

07/18/2019
NOTICE OF APPEAL

07/02/2019
ORDER

07/02/2019
ORDER OF DISMISSAL WITH PREJUDICE

07/02/2019 DISMISSED WITH PREJUDICE (Judicial Officer: COX, THOMAS A., Jr.)

https://publicrecordsaccess. fultoncountyga.gov/app/RegisterOfActions/#/0A24FF22700B5BD856E7881A8D340F4416107D2F7F41006B6EC68740FA... 2/4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 4 of 38

8/30/2021 Register of Actions - 2018CV309704

06/03/2019

06/03/2019

06/03/2019

05/31/2019

05/17/2019

05/17/2019

05/15/2019

05/02/2019

04/12/2019

04/11/2019

03/13/2019

01/31/2019

01/30/2019

01/02/2019

12/13/2018

12/10/2018

11/13/2018

11/13/2018

11/13/2018

MOTION

ANSWER

MOTIONS HEARING (10:00 AM) (Judicial Officer: COX, THOMAS A., Jr.)

NOTICE OF FILING

NOTICE OF HEARING

LEAVE OF ABSENCE

MOTION

PROPOSED ORDER

RESPONSE

ORDER OF TRANSFER

MOTION

NOTICE

NOTICE OF HEARING

REPLY

BRIEF IN OPPOSITION OF MOTION

RESPONSE

MOTION TO QUASH

RESPONSE

REPLY

httos://publicrecordsaccess..fultoncountyga.gov/app/RegisterOfActions#/0A24F F22700B5BD956E 788 1 A8D340F4416107D2F7F41006B6EC68740FA...

3/4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21

8/30/2021

11/08/2018

10/10/2018

10/10/2018

10/01/2018

10/01/2018

10/01/2018

10/01/2018

10/01/2018

08/30/2018

1-50 of 52

Register of Actions - 2018CV309704

MOTION TO QUASH

MOTION TO STRIKE

BRIEF IN OPPOSITION OF MOTION

ANSWER

MOTION

BRIEF IN SUPPORT OF MOTION

ANSWER

VERIFICATION

AFFIDAVIT OF SERVICE

Page 5 of 38

 

Financial Information

 

https://publicrecordsaccess. fultoncountyga.gov/app/RegisterOfActions/#/0A24FF22700B5BD956E7881A8D340F 44 16107D2F7F41006B6EC68740FA...

DEFENDANT  BAYVIEW LOAN SERVICING
Total Financial Assessment

Total Payments and Credits

Balance Due as of 8/30/2021

DEFENDANT RUBIN LUBLIN, LLC
Total Financial Assessment

Total Payments and Credits

Balance Due as of 8/30/2021

PLAINTIFF HILL, JANET
Total Financial Assessment

Total Payments and Credits
Balance Due as of 8/30/2021

3.00
3.00
0.00

2.00
2.00
0.00

977-50
225.00

352.50

4/4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 6 of 38

&* Qo; " ‘ Fulton County Superior Court
te uy / oEFILED Mt UT

. Date: 8/29/2018 1:36 PM

Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA

JANET HILL, pro se, § CASE NO: 2018CV309704

§

Plaintiff § VERIFIED EMERGENCY PETITION
vs § FOR INJUNCTIVE RELIEF AND

RUBIN LUBLIN and BAYVIEW LOAN ; Oa ARY RESTRAINING
SERVICING, LLP :

§

§
Defendants. §

§

§

§

§

VERIFIED EMERGENCY PETITION FOR INJUNCTIVE RELIEF AND TEMPORARY
RESTAINING ORDER

COMES NOW, Janet Hill, pro se, (“Plaintiff”) and moves this Court to consider this
Verified Emergency Petition for Injunctive Relief and Temporary Restraining Order pursuant to
Uniform Superior Code Rules 6.7, and O0.C.G.A. Sec, 9-11-65(b) against the listed Defendants.
Defendants through misrepresentation are attempting to foreclose on Plaintiff's real property. The
Plaintiff shows the Court the following:

| | 1,

Defendant, Rubin Lublin, LLC (“Lublin”) may be served by serving its Registered

Agent, Peter Lublin, 3145 Avalon Ridge Place, Suite 100, Peachtree Corners, Georgia 30071.
2.
Bayview Loan Servicing, LLC (“Bayview”) may be served by serving its Registered

Agent, C T Corporation, 40 Technology Parkway South, #300, Norcross, GA, 30092.

1
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 7 of 38

Agent, C T Corporation, 40 Technology Parkway South, #300, Norcross, GA, 30092.
3.
Jurisdiction and venue are proper in this Court.
4.

The matters stated herein involves the property located at 543 Auburn Avenue NE, Atlanta,

Georgia 30312, Parcel ID#: 14 004600121811, Fulton County, Georgia (the “Property”).
5.

Plaintiff is the owner of the property located at 543 Auburn Avenue NE, Atlanta, Georgia
30312, Parcel ID#: 14 004600121811, Fulton County, Georgia (the “Property”). Plaintiff acquired
the property by virtue of Warranty Deed from Daisy B, Flournoy filed October 6, 1999 recorded
in Deed book 27887 page 150 in the real estate records of Fulton County, Georgia. A true copy of
the vesting deed is attached hereto as Exhibit “A”!

6.

On or about July 20, 2018, Plaintiff received a letter from “Lublin” regarding the debt
collection associated with the subject property and pursuing efforts to foreclose on September 4,
2018; A copy of the foreclosure notice is attached hereto as Exhibit “B”)

7.

Upon receiving the debt collection and foreclosure notice, Plaintiff responded in writing
via certified mail with two requests to dispute the debt and request for validation of the purported

debt. A copy of the Plaintiffs response letters are attached hereto as Exhibit “C, D”)
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 8 of 38

s

8.

With the foreclosure notice stating fictitious information or the lack of factual information
regarding an alleged debt, the Defendants are in violations of the Fair Debt Collections Practices
Act which indicates a purposeful act of concealment, inducement, mail fraud, intent, to extort
money from the Plaintiff and illegal seizure of personal property,

o
As of the date of this verified petition, “Lublin” has not responded to the two requests sent by
Plaintiff via certified mail disputing the debt and the request for validation of such debt.
Defendants received Plaintiffs two certified letters via the United States Postal service Exhibit
“EB,
10.
On March 23, 2018, Plaintiff filed a Verified Complaint, Civil Action, 2018CV302813,.a

quiet title action against all the world. The action filed with the Court is currently pending.

MEMORANDUM OF LAW IN SUPPORT OF INJUNCTIVE RELIEF
AND TEMPORARY RESTRAINING ORDER
11.
“A motion for interlocutory injunction or a TRO is an extraordinary motion,
which is time sensitive, unlike others because it seeks to preserve the status quo until a full hearing
can be held to avoid irreparable harm.” Focus Entertainment international, Inc. v. Partridge
Greene, Inc, (253 Ga. App.121)(558 SE2d 440) (2001).

12.
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The Court explained that “foreclosure is one such instance which injunction is
appropriate because when an interest in land is threatened with harm, such harm is deemed to be
irreparable to the unique character of the property interest, i.e,, money damages are not adequate
compensation to protect the interest harmed”. Focus Entertainment international, Inc, v.

Partridge Greene, Inc. (253 Ga, App.121)(558 SE2d 440) (2001).
13.

In addition, “Lublin” has not provided Plaintiff with any evidence of an original
agreement, Grier v. Skinner's Furniture Store, etc. 349 SE 2d. 826 Ga. Ct. App. 1986. Such an
agreement is enforceable under O.C.G.A 11-9-203 which states:

(a) Attachment. A security interest attaches to collateral when it becomes enforceable

against the debtor with respect to the collateral, unless an agreement expressly postpones

the time of attachment.

(b) Enforceability. Except as otherwise provided in subsections (c) through (i) of this

Code section, a security interest is enforceable against the debtor and third parties with

respect to the collateral only if:

(1) Value has been given;

(2) The debtor has rights in the collateral or the power to transfer rights in the collateral

fo a secured party;

14,

Accordingly the Fair Debt Collection Practice Act, sec. 809(b) which states:
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 10 of 38

(b) Disputed debts; If the consumer notifies the debt collector in writing within the thirty-
day period described in subsection (a) of this section that.the debt, or any portion thereof, is
disputed, or that the consumer requests the name and address of the original creditor, the debt
collector shall cease collection of the debt, or any disputed portion thereof, until the debt
collector obtains verification of the debt or a copy of a judgment, or the name and address of the
original creditor, and a copy of such verification or judgment, or name and address of the
original creditor, is mailed to the consumer by the debt collector, Collection activities and
‘communications that do not otherwise violate this subchapter may continue during the 30-day
period referred to in subsection (a) unless the consumer has notified the debt collector in writing
that the debt, or any portion of the debt, is disputed or that the consumer requests the name and
address of the original creditor. Any collection activities and communication during the 30-day
period may not overshadow or be inconsistent with the disclosure of the consumer's right to

dispute the debt or request the name and address of the original creditor.

As previously stated, Plaintiff has disputed the alleged debt with “Lublin” and “Lublin”
has failed to provide a response. Further, Defendants are in violation of this act by continued
efforts to pursue the Sale Under Power provision under the alleged security deed to foreclose on
the subject property.

15.

Under the Civil Practice Act, a party must be given notice and the opportunity to amend

defective pleadings where such notice will facilitate a decision on the merits, The Civil Practice
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Act does not penalize a party irrevocably for one miss step in pleading.” McDonough Constr.

Co. v, McLendon Elec, Co., 242 Ga. 510, 515 (250 SE2d 424) (1978).

 

THE STANDARD FOR INJUNCTIVE RELIEF
16.

Pursuant to OCGA 9-11- 65, a moving party must show that 1. Inreparable harm will result
in the absence of an injunction or restraining order; and 2. That the moving party has a likelihood
of success on the merits. An injunction generally is defined as a court order prohibiting action.
See State v. Davis, 339 Ga. App. 214, 217 (793 SE2d 507) (2016). Crawford v. Dammann, 277
Ga, App. 442, 449 (4) (a) (626 SE2d 632) (2006). A temporary restraining order generally serves
to maintain the status quo for up to 30 days to prevent immediate, irreparable harm.

17.
Defendant received 2 certified letters from Plaintiff, (Exhibit C, D). Given there is no response
from “Lublin”, silence is acquiescence. Pursuant to OCGA 24-4-23, Jerkins v, Jerkins, 300 Ga.
App. 703, 706-707(2), 686 SE2d 324 (2009.) Defendant Lublin failed to respond to two letters
received via the United States Postal service and failed to adhere to Fair Debt Collection laws.
(Exhibit E).

Allowing the foreclosure of the subject property to occur without the consideration of the
full merits of the Plaintiffs claim will cause irreparable injury and substantial harm to the Plaintiff.
Plaintiff would not be in the position fully and adequately to prosecute the claims against
Defendants and in turn, it would allow the Defendants to continue their nefarious, predatory
practices against Plaintiff and others similarly situated.

18,
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 12 of 38

1. That the Court enters an Order granting the Plaintiff an injunction to temporarily
cease the foreclosure actions on the subject property by the Defendants;

2, Allow Plaintiff to enjoin defendants to pending case # 2018CV302813;

3, Stay all foreclosure proceedings;

4, Grant Plaintiff all other and further relief allowed by the law and that this Court

    
    

deems just and proper.
This day 27th of August, 2018.

RESPECFULLY SUBMITTED
Janet Hill, prove

543 Auburn Avenue

Atlanta, GA 30312

jkhillus@yahoo.com

All Rights Reserved
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 13 of 38

CERTIFICATE OF SERVICE

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o,! mete PRB Ee ES

"Ne de

I certify the following parties are served.

: q'

Rubin Lublin, LLC rr ho yt
3145 Avalon Ridge Place ma,
Suite 100 4 “4
Peachtree Corners, Georgia 30071 peel “
Registered Agent - Peter Lublin reo
Bayview Loan Servicing, LLC mo nee :
40 Technology Parkway South, ag
#300 Cpe ee a
Norcross, GA, 30092, USA ‘ hp Use tee -
Registered Agent — C T Corporation

rot oF rbd 7

4 Qo ‘ ‘ ' ho, ™ ft
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 14 of 38

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA
JANET HILL, pro se, : CASE NO.:: Sa
Plaintiff, : Verified Emergency Petition for Injunctive
vs, § Relief and Temporary Restraining Order
RUBIN LUBLIN, BAYVIEW §
LOAN SERVING, LLC §
§
Defendants. §
§
§
§

VERIFICATION
I, Janet Hill, pro se, am the Plaintiff in this action. I have read the foregoing
application for injunctive relief and Temporary Restraining Order and is true of my own
knowledge, except as to those matters stated on information or belief, and as to those matters, I
believe it to be true.
I declare under penalty of perjury under the laws of the State of Georgia that the
foregoing is true and correct, ,

QQ 2s

Janet Hill, prove

This day of August, 2018

 

On the Le tay of Aviat, 2018, Janet Hill, known to me, appeared before me and

executed the above document? L. L
7 U
9

 
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 15 of 38

NOTARY

My Commission expires on Lilley 15, 20€E

10
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 16 of 38

EXHIBITS ©
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 17 of 38

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"Sctwoon DAVEY BUWWEIT FLOOBNOY A/R/A DAISY LEE BUXWETT WLOUENDY of
the Stete of Georgia ond County of DexXalb ae party of tho firnt
part, horpinafter called GRANTOR, and JANET HILL, of tha State of
Gsorgia end County of Pulton am party of the second part,
horednafter called GRANTES, (tho words “Grantor” and “GRANTER” to
include thelr renpeotive helra, successors and assigns where the
context requires or permits),

WITWESSETH: ‘That Grantor, for and in coneiderstion of the aun
of TEN DOLLARS (920.00) AND OTHER VAWIABLE CONSIDERATIONS in hand
paid at and befors the sealing and delivery of these prosentn, the
taceipt whereof le hereby acknowledged, the undersigned, DATSY

¥YLOURHOY A/E/A DAISY BENNETT FLOURHOY doce hireby
gvont, barasin, sold and convay end by these presents, doso grant,
bargain, pold and canveyed unto JANBY HILL hor heirs and aoolene,
the following deseribad proparty to wit:

ALL that tract or parcel oof Land ying and baing in Land fot 46
of tha idth Diatrait of Fulton County, Georgian, belog more golly
dascribed an Lo) lows:

BEGIRNING at a paint loomted at the doterssstien of the ooutherly
aide of Auburn Avenues ond the sant aide of Howell Street; thanca

northoasturly along the eoutherly aide of Auburn Avenue
forty-eix (46) foek to a point; thonee south ous Innidred elevan
and Five-tenthn (123.8) fest to a point; thence woot erty and
five-tenths (40.6) fest to a point located on tho cast olde of
Howoll Strwot; ttonce north along the east pide of Howsll Strest
ninety-fow (84) feet to the point of beginning; being known oo
Ro. $43 Aubura Avenun, Atlants, Georgia, and baing nore
particularly chom by a plat of survey dated February 6, 1856,
prepared by W.H. Brower, or, on £i1Ls in the offica of Lawyorn
Title Torurance Corporation.

TO WAVE AND TO HOLD tha maid bargained prenloce, together with
all and einguiar the righto, oombare and appurtenances thoreot, to
the camo being, belonging or in any way aypertaining, to the only
proper use, benefit and bohoof of ths antd grantees forever, IN FEE

=

And the enid Grontor will warrant and forever defend the riaht
and title to the above described property unto the sald arantes
against the unlawful claims of all parsons whousoever.

18 WhrreDs wiesioy, the Grantor hos nigned and nealed this
deod, the day and year above written.

+

bein 278876150

 

 

 
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 18 of 38
Exhibis &

RUBIN LUBLIN, LLC

Attorneys and Counselors at Law
3145 Avalon Ridge Place, Suite $00
Peachtree Comers. GA 30071
TEL (877) $13-0992
FAN (404) 601-5846

VIA CERTIFIED MAIL

RETURN RECEIPT REQUESTED
Copy Via Regular Mall

July 11. 208
JANET HILL

$43 AUBURN AVE
ATLANTA. GA 30312

Notice Pursuant to Fair Debt Collection Practices ctet (Lf Applicable)

ITE |

File No.: BVF-16-00491-5

Loan: Note, and Security Deed from JANET HILL to MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC., AS
NOMINEE FOR AMERICA’S WHOLESALE LENDER

(“Original Lender”)
Name: JANET HILL
Amount of Debt: $794,375.60
Property Address: 543 AUBURN AVE, ATLANTA, GA 30312

Please be advised that this law firm represents The Bank OF New York Mellon FKA The Bank
Of New York As Trustee For The Certificateholders CWALT. Inc.. Altemmative Loan Trust, 2005-58
Mortgage Pass-Through Certificates, Serics 2005-58. successor in interest to the Original Lender, This
leer is to advise you that we have been retained to non-judicially foreclose the Loan. Tire amonit of the
debt awed an the Loan indicated above mag consist of the wnpoid principal balance, any unpuid
accrued interest, escrow/inipound shortages or credits, late churges, legal fees/costs, and miseellaneans
cherges, This amount changes daily, therefore to find out the amount needed to elther bring your
Loan current ar to puy offyour Lear in full, please cult 800-771-0299,

Unless you notify us within thirty (30) days after receipt of this letter that the validity of this debt
or any portion of it. is disputed. we will assume that the debt is valid. if you notify us in writing of a
. dispute, wewill obtain verification of the debt and mail it to you, Also, if you make a wren request to, .
this law firm within thirty (30) days from receipt of this notice. we will provide you with name and
address of the Original Lender by mail. Be advised thar we may commence our stated collection activity
Withow waiting thiny (30) days. as permitted by Inv and if'so requested by our client.
(Continued on back/next page)

Ma oh gee
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 19 of 38

This notice Js not a demand for payment or possession, Our client fs seeking only to
enforce its rights against the above-referenced property pursuant to the Loon and not against you
personally. Further, if you have recelved a discharge ino bankruptey proceeding. this notice is not
Intended to collect aguinst you personally or indicate thal you are personally liable for this debt.
This notice relates solely to an enforcement of rights with respect to the above-referenced property.

We do not believe that you are represented by counsel. If you ore represented by counsel, please
votify us immediately and provide the name -and address of your Iawvyer so that we may direct
communications to them, If we do not hear from you we will assume that you are not represented by
counsel.

If you are currently or have within the last twelve (12) months been in the military service
AND joined after entering into the Loan, please notify this office immediately. You may be entitled
to relief under the Servicemembers Civil Relief Act. You may also call 1-800-342-9647 for further
assistance or visit wivw.militaryonesource.com/SCRA. When contacting this office as to your
militury service, you mist provide us with positive proof as to your military status, If you do not
provide this information, we will assume that you are not entitled to protection under the above
mentioned Act.

This letter is notice to the extent the Fair Debt Collection Practices Act (the “FDCRA") applies.
Nothing contained herein or in fature notices shall be decined on admission that the FOCPA applics to
this firm's representation of the aforementioned creditor

For firther information about this matter, plense contact Rubin Lublin, LLC al (877) 813-0992,

Should the FOCPA apply, plense be ndvised that this finns neti ns a debt collector sitempiing
tocollect a debt and anv information obtained will be used for thal pumose.

AVE tect
RUBIN LUBLIN, LLC
Attomeys and Counselors at Law
3143 Avaton Ridge Placé, Suite 100
Peachtree Comers, GA 30071
TEL (877) 813-0992
FAX (404) 601-5846

VEA CERTIFIED MAIL
RETURN RECEIPT REQUESTED
Copy Via Regular Mail

July 11, 2018

JANET HILL
543 AUBURN AVE
ATLANTA, GA 30312

Notice of Acceleration and Foreclosura

File Nou: BV F-16-00491-S

Loan: Nore, and Security Deed from JANET HILL to MORTGAGE
ELEGTRONIC REGISTRATION SYSTEMS, INC,, AS NOMINEE
FOR AMERICA'S WHOLESALE LENDER (“Original Lender”)

Property Address: 343 AUBURN AYE, ATLANTA, GA 30312

Please be advised that this law firm represents The Bank Of New York Mellon FKA The
Bank Of New York As Trustee For The Cerlificatcholders CWALT, Inc., Alternative Loan Trust
2005-58 Mortgage Pass-Through Certificates, Series 2005-58 (Foreclosing Entity”). successor in
interest to the Original Lender on the above-referenced Loan. By separate communication you
may have been advised of your rights under the Fair Debt Collection Practices Act (the
“FOCPA*), should that Act apply to this proceeding, Nothing in this fetler shall prevent you
from exercising those rizhts as sel forth in thot communication. This letter t is to ddvise you that
we arc hereby instituting non-judicial foreclosure proceedings against the referenced property.
Enclosed you will find a copy of the Notice of Sole Under Power that was submitted for
publication in the legal newspaper in the county where the property is located. The foreclasure
sale is scheduled for September 4, 2018 (“Sale Date” }.

The entire amount of the debt secured by said Note and Security Deed has now been
declared due and payable beeatise of, gmong other possible defaults, failure to pay the
indebtedness as and when due and in the manner specified in the Note and Sceurily Deed, The
total amount of the debr owed may consist of unpuid principal balance, any unpuld acerued
interest, excrow/impound shortages or credits, late charges, legal fees/costs, and other charges,
To find out the amount needed to either bring the Loan current or to pay off the Loan in full,
Please call 800-775-0299, -

(Continued on back/next page)

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Plense be advised that the Foreclosing Entity intends to enforce the provisions of said
Note and Security Deed relative to payment of attorneys’ fees. Unless the full arriount owed on
this Loan is paid within ten (10) days from the date of receipt of this letter, reasonable attorneys”
fees, as defined by the Official Code of Georgia Annotated Section ("O.C.G.A,") § 13-1-11, will
also be owed, Plense be further advised that from this point forward, strict compliance with the
current terms of the Loan will be required pursuant to O.C.G.A, § [3-4-4

In some circumstances the Loan, State Law, and/or the Foreclosing Entity may allow the
default on the Loan to be cured and stopping the foreclosure prior Lo the sale date. You may
contact this office to find out if reinstatement of the Loan will be allowed, and if allowed, what
specific amount will be nevessary to fully cure the default, Please be advised that ifthe default is
allowed to be cured on the Loan, payment must be made in the form of cash. cashier's check or
certified funds or wired fo be received sufficiently in advance of the Sule Date to allow for
cancellation of the sale and pursuant to the lerms of the Loan.

If you are currently or have within the fast twelve-(12) months been in the military service
AND joined aftee the date of the Loan, please nolify this office immediately: You may be
entitled to relief under the Servicemembers Civil Relief Aci, You may also call 1-800-342-9647
for further assistance or visit www.militaryonesource.com/SCR.A, When contacting this
office as to your military service, you must provide us with positive proof as to your military
status, If you do nat provide this information, we will assume thal you are not: entitled lo
protection under the above mentioned Act.

We do not believe that you are represented by counsel, Ifyou are represented by counsel,
please notify us immediately ond provide the name and address, of your lawyer so that we may:
direct communications to them. (C we da not hear from you we will assume that you are not
represented by counsel in relation to the foreclosure.

This ndtice is not intended to collect the debi against you personally or indicate that you
are personally liable for this debt. This notice relotes solely to an enforcemecn| of rights with
respecl to the above-referenced properly.

This Jetier is notice to the extent the FDOCPA applies, Nothing contained herein or in future

notices shall be deemed an admission that the FDCPA applies to this firm's representation of the
Foreclosing Entity.

7 “s* Should the FOCPA apoly. please be ndvisedt that this firm is acting asn debtcollcetor-ntemptine to -
collect a debt and any information obtained will be used for that pumose.

LIV fea] 0S
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 22 of 38

   

GEORGIA. FULTON COUNTY

By virtue of a Power of Sale contained in that certain Security Deed from JANET
HILL to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE
FOR AMERICA'S WHOLESALE LENDER, dated October 6, 2005, recorded Oclober 25,
2005, in Deed Book 41205, Page 241, Fulton County, Georgia Records, suid Security’ Deed
having been given to secure a Nole of even dite in the original principal amount of Four
Hundred Sixty-Four Thousand and 00/100 dollars ($464,000.00). with interest thereon as
provided for therein, said Security Deed having been last sold, assigned and transferred to
The Bank Of New York Mellon FKA The Bank Of New York As Trustee For The
Certificateholders CWALT, Inc., Alternative Loan Trust 2005-58 Morigage Pass-Through
Certificates, Series 2005-58. there will be sold at public outcry lo the highest bidder for cash nt
the Fulton County Courthouse, within the legal hours of sale on the first Tuesday in
September, 2018, all property described in said Security Deed including but not Limited to the
following described property:

ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING LAND LOT 46 OF THE
14TH DISTRICT OF FULTON COUNTY, GEORGIA, AND BEING MORE
PARTICULARLY DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT LOCATED AT THE INTERSECTION OF THE SOUTHERLY
SIDE OF THE RIGHT OF WAY AUBURN AVENUE (53 FOOT RIGHT OF WAY) AND
THE EASTERLY SIDE OF THE RIGHT OF WAY OF HOWELL STREET (30-FOOT
RIGHT OF WAY): THENCE RUNNING ALONG THE SOUTHERLY SIDE OF SAID
AUBURN AVENUE NORTH 66 DEGREES 34 MINUTES 07 SECONDS EAST A
DISTANCE OF 46.00 FEET TO 1-2 INCH REBAR FOUND; THENCE LEAVING THE
SOUTHERLY S(DE OF THE RIGHT OF WAY OF AUBURN AVENUE AND RUNNING
SOUTH 00 DEGREES 00 MINUTES 00 SECONDS EAST A DISTANCE OF 111.50 FEET
TO A POINT: THENCE RUNNING SOUTH &8 DEGREES 34 MINUTES 06 SECONDS
WEST A DISTANCE OF 40.50 FEET TO AN 1/2 INCH OT FOUND ON THE EASTERLY
SIDE OF THE RIGHT OF WAY OF SAID HOWELL STREET: THENCE RUNNING
ALONG TIE EASTERLY SIDE OF THE RIGHT OF WAY OF SAID HOWELL STREET
NORTH 01 DEGREES 02 MINUTES 42 SECONDS WEST A DISTANCE OF 94.00 FEET
TO THE POINT OF BEGINNING,

Said legal description being controlling. however the property is mora commonly
known as 343 AUBURN AVE, ATLANTA, GA 30312,

The indebtedness secured by said Security Deed has been and is hereby declared due
beeause of default under the terms of said Sectirity’ Décd and Note. “The indebtedness
remaining in default. this sale will be made for the purpose of paying the same, all expenses of
the sale. including attomcys” fees (nolice to collect same having been given) and all other
payments provided for under the terms of the Security Deed and Note,

Said property will be sold on an “as-is” basis withoul any representation, warranty or
recourse ngainst the above-named or the undersigned. The sule will also be subject to the
following items which may affeet the title: any outstanding ad valorem taxes (including taxes
which are a lien, whether or not now due and payable): the right af redemption of any taxing
authority: matiers which would be disclosed by an accurate survey or by an inspection of the
property: all zoning ordinances: assessments; liens: encumbrances: restrictions: covenonis, and
any other matters of record superior to said Securily Deed,

To the best of the knowledge and belie! of the undersigned. the owner and party: in
possession of the property is JANET HILL. or tenants(s).
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 23 of 38

The sale will be conducted subject (1) to confirmation that the sale is not prohibited
under the U.S, Bankruptcy Code and (2) to final confirmation and audit of the status of the loan
with the holder of the Security Deed.

Please note that, pursuant lo O.C.G.A. § 44-14-162.2, you are not entitled by law to an
amendment or modification of the terms of your loan, The entity hnving full authority to
negotiate, amend or modify all terms of the loan (although not required by law to do so) is:
BAYVIEW LOAN SERVICING, LLC, Loss Mitigation Dept., 4425 Ponce de Leon Bivd., Sth
Floor, Coral Gables, FL 33146, Telephone Number: 800-771-0299.

THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK AS
TRUSTEE FOR THE CERTIFICATEHOLDERS CWALT, INC., ALTERNATIVE
LOAN TRUST 2005-88 MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2005-58
as Attormey in Fact for
JANET HILL

THE BELOW LAW FIRM MAY BE HELD TO BE ACTING AS A DEBT COLLECTOR,
UNDER FEDERAL LAW. IF SO. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.

Attomey Contact: Rubin Lublin, CLC, 3145 Avalon Ridge Place, Suite 100, Peachtree Comers.
‘GA 30071

Telephone Number: (877) 813-0992 Case No, BVF-16-00491-5

Ad Run Dates 08/08/2018, 08/15/2018, 08/22/2018, 08/29/2018

way. rubiniublin,coin/property-listings.phpe
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 24 of 38

 

QUALIFIED WRITTEN REQUEST
July 31, 2018
' From: Janet Hill

§43 Auburn Avenue

Atlanta, GA 30312
To: Rubin Lublin

3145 Avalon Ridge Place, Suite 100

Peachtree Corners, GA 30071
Re: File No: BVF-16-00491-5 (contested)

Loan: Note, and Security deed from JANET HILL to MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR
AMERICA’S WHOLESALE Lender (“Original Lender’) (contested)
Amount of Debt: $794,375.60 (contested)

Property Address: 543 Auburn Avenue, Atlanta, GA 30312

Attention: Response to Debt Collection/Mortgage Loan Accounting Department

Please treat this letter as a “Qualified Written Request” under the Federal Servicer Act,
which ts a part of the Real Estate Settlement Procedures Act, 12 U.S.C. 2605(€). This letter is
also a dispute of the alleged debt referenced above.

Specifically, I am disputing a) the identity of an alleged secured lender/creditor, and b) the
existence of debt(s), and c) your authority and capacity to collect or enforce any rights or interest
on behalf of the alleged lender/creditor, its agents, successors or assigns, and d) the amount of debt
and, e) your reference and authority to act on my behalf. Because of extensive criminal activity
and fraud in this arena, I require additional information including but not limited to, proof-of the
chain of secured ownership from the alleged original lender/creditor to the alleged current

‘lender/creditor. Below is the detailed request.

I dispute this alleged debt in its entirety.

Further, I require proof that you are the entity that has been contracted to work on behalf
of the alleged lender/creditor.

Pursuant to “Subtitle E Mortgage Servicing” of the Dodd-Frank Wall Street Reform and
Consumer Protection Act and pursuant to 12 U.S.C, Section 2605(e)(1)(A) and Reg. X Section
3500.21(e){1), please provide:

1. A full, double sided, certified “true and accurate” copy of the original promissory note
and security instrument and all assignments of the alleged security instrument.

2, Full name, address and telephone number of the actual entity that funded the alleged
transaction.

 

Qualified Written Request Loan No: <Account No> Page 1} of 4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 25 of 38

3. Pursuant to the Truth In-Lending Act § 131((2) and 15 U.S.C, § 1641 (£): Please
provide the name, address and telephone number and tax identification number of the
purported current and original owner(s) of the alleged mortgage and the master servicer
of the alleged mortgage.

4. Full name of the Trust where the Note Number is trading, or has traded, and the
identifying Series of Certificates. (Note: If the note number is being traded in a Fannie
Mae Trust or Freddie Mac Trust, please provide all information to identify the Trust
(i.e. Farmie Mae Pool Number, CUSIP Number, REMIC or SMBS Trust Number and
Trust Class/Tranche).

5. Full name, address, and telephone number of the purported Trustee.

6. Proof of funding of the alleged loan in the form of a confirmation number of the wire
transfer or front and back copy of cleared check(s).

7. Full name, address, telephone number and tax identification number of the purported
Custodian of the original Promissory Note, including the name, address and telephone
number of any trustee or other fiduciary. This request is being made pursuant to Section
1641(f)(2) of the Truth In Lending Act.

8. Tbe MERS Milestone Report, if the note number and alleged security instrument was
tracked by Mortgage Electronic Registration Systems. Include the audit trail of the
alleged transfer in ownership and alleged transfer in security interest.

9, A complete audit history from alleged loan origination, showing the dates payments
were applied, and to what internal accounts (i.e. principal, interest, suspense, escrow,
etc.) payments were applied.

10. A complete and itemized statement of any and all fees and/or charges against this
account.

11. A complete and itemized statement of escrow for the alleged account, if any, from the
date of the alleged note origination to the date of your response to this letter.

12. A complete and itemized statement from the date of the alleged note origination to the
date of your response to this letter of the amounts charged for any forced-placed
insurance, the date of the charge, the name of the insurance company, the relation of
the insurance company to you or a related company, the amount of commission you
received for each force-placed insurance event, and an itemized statement of any other
related expenses and any claims paid out thereto,

13. Complete and itemized statement of any and all fees incurred to modify, extend, or
amend the alleged loan or to defer any payment or payments due under the terms of the
loan, from the date of the alleged note origination to the date of your response to this
letter.

 

Qualified Written Request Loan No: <Account No> Page 2 of 4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 26 of 38

14. Complete, itemized statement of the current amount for pay-off of the alleged “loan”
in full.

15, Verification of any notification provided to me of a change in alleged servicer and/or
change in alleged lender.

16. Written verification that your company has been contracted to work on behalf of the
alleged lender/creditor.

PLEASE TAKE NOTICE; you should be advised that within five (5) days you must send
a letter stating that you received this letter, After that time you have thirty (30) days to fully
respond as per the time frame mandated by Congress, in “Subtitle “E” Mortgage Servicinp” of the
“‘Dodd-Frank Wall Street Reform and Consumer Protection Act and pursuant to 12 U.S.C. Section
2605(e)(1)(A) and Reg. X Section 3500.21(e)(1).

PLEASE TAKE FURTHER NOTICE; you should be advised that Violations of this
Section provide for statutory damages of up to $4,000 and reasonable legal fees. The amendments
also clearly provide that the new notice rules are enforceable by private right of action.

NOTICE TO-CEASE AND DESIST

I am hereby requesting in writing that neither you, nor any agent on your behalf, call me at
home or at work. Do not call me at my home number, or at my place of employment, Please give
this information to the appropriate parties within your company so they may comply.

In Order to avoid any misunderstanding, all communication shall henceforth be on the
record, i.e. in writing and duly served, Please serve all communications and process directly to the
mailing address provided above,

- Thank-you for taking the time to acknowledge and answer this request as required by Real
Estate Settlement and Procedures Act section (2605(e)).

Sincerely,

gfanet Shut

Janet Hill
CC:

Office of RESPA and Interstate Land Sales

Office of Housing, Room 9154

US Department of Housing and Urban Development
451 Seventh Street SW

Washington, DC - 20410

 

Qualificd Written Request ' Loan No: <Account No> Page 3 of 4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 27 of 38

Ex terk \y

QUALIFIED WRITTEN REQUEST

August 11, 2018

From: Janet Hill SECOND NOTICE
§43 Auburn Avenue
Atlanta, GA 30312

To: Rubin Lublin

3145 Avalon Ridge Place, Suite 100
Peachtree Comers, GA 30071

Re: File No: BVF-16-00491-5 (contested)
Loan: Note, and Security deed from JANET HILL to MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC.,, AS NOMINEE FOR
AMERICA’S WHOLESALE Lender (“Original Lender”) (contested)
Amount of Debt: $794,375.60 (contested)
Property Address: 543 Auburn Avenue, Atlanta, GA 30312

Attention: Response to Debt Collection/Mortgage Loan Accounting Department

Please treat this letter as a “Qualified Written Request” under the Federal Servicer Act,
which is a part of the Real Estate Settlement Procedures Act, 12 U.S.C. 2605(e). This letter is
also a dispute of the alleged debt referenced above.

Specifically, I am disputing a) the identity of an alleged secured lender/creditor, and b) the
existence of debt(s), and_c) your authority and capacity to collect or enforce any rights or imterest
on behalf of the alleged lender/creditor, its agents, successors or assigns, and d) the amount of debt

‘and, e) your reference and authority to act on my behalf. Because of extensive criminal activity
and fraud in this arena, I require additional information including but not limited to, proof of the
chain of secured ownership from the alleged original lender/creditor to the alleged current
lender/creditor. Below is the detailed request.

I dispute this alleged debt in its entirety.

Further, T require proof that you are the entity that has been contracted to work on behalf
of the alleged lender/creditor.

Pursuant to “Subtitle E Mortgage Servicing” of the Dodd-Frank Wal! Street Reform and
Consumer Protection Act and pursuant to 12 U.S.C, Section 2605(e)(1)(A) and Reg, X Section
3500.21 (e)(1), please provide:

1. A full, double sided, certified “true and accurate” copy of the original promissory note
and security instrument and all assignments of the alleged security instrument.

2. Full name, address and telephone number of the actual entity that funded the alleged
transaction.

 

Qualificd Written Request Loan No: <Accotnt No> Page 1 of 4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 28 of 38

3. Pursuant to the Truth In-Lending Act § 131(f)(2) and 15 U.S.C. § 1641 (£): Please
provide the name, address and telephone number and tax identification number of the
purported current and original owner(s) of the alleged mortgage and the master servicer
of the alleged mortgage.

4, Full name of the Trust where the Note Number is trading, or has traded, and the
identifying Series of Certificates. (Note: If the note number is being traded in a Fannie
Mae Trust or Freddie Mac Trust, please provide all information to identify the Trust
(i.e. Fannie Mae Pool Number, CUSIP Number, REMIC or SMBS Trust Number and
Trust Class/Tranche),

5. Fullname, address, and telephone number of the purported Trustee.

6. Proof of funding of the alleged loan in the form of a confirmation number of the wire
transfer or front and back copy of cleared check(s).

7. Full name, address, telephone number and tax identification number of the purported
Custodian of the original Promissory Note, including the name, address and telephone
number of any trustee or other fiduciary. This request is being made pursuant to Section
1641(f(2) of the Truth In Lending Act.

8. The MERS Milestone Report, if the note number and alleged security instrument was
tracked by Mortgage Electronic Registration Systems. Include the audit trail of the
alleged transfer in ownership and alleged transfer in security interest.

9, A complete audit history from alleged Joan origination, showing the dates payments
were applied, and to what internal accounts (i.e. principal, interest, suspense, escrow,
etc.) payments were applied.

10. A complete and itemized statement of any and all fees and/or charges against this
account.

11. A complete and itemized statement of escrow for the alleged account, if any, from the
date of the alleged note origination to the date of your response to this letter.

12, A complete and itemized statement from the date of the alleged note origination to the
date of your response to this letter of the amounts charged for any forced-placed
insurance, the date of the charge, the name of the insurance company, the relation of
the insurance company to you or a related company, the amount of commission you
received for each force-placed insurance event, and an itemized statement of any other
related expenses and any claims paid out thereto.

13. Complete and itemized statement of any and all fees incurred to modify, extend, or
amend the alleged loan or to defer any payment or payments due under the terms of the
loan, from the date of the alleged note origination to the date of your response to this
letter.

 

Qualified Written Request Loan No: <Account No> Page 2 of 4
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 29 of 38

14. Complete, itemized statement of the current amount for pay-off of the alleged “loan”
in full,

15. Verification of any notification provided to me of a change in alleged servicer and/or
change in alleged lender.

16, Written verification that your company has been contracted to work on behalf of the
alleged lender/creditor.

PLEASE TAKE NOTICE; you should be advised that within five (5) days you must send
a letter stating that you received this letter. After that time you have thirty (30) days to fully
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PLEASE TAKE FURTHER NOTICE; you should: be advised that Violations of this
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NOTICE TO-CEASE AND DESIST

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home or at work. Do not call me at my home number, or at my place of employment. Please give
this information to the appropriate parties within your company so they may comply.

In Order to avoid any misunderstanding, all communication shall henceforth be on the
record, i.e. in writing and duly served. Please serve all communications and process directly to the
mailing address provided above.

Thank you for taking the time to acknowledge and answer this request as required by Real .
Estate Settlement and Procedures Act section (2605(e)).

Sincerely,

fener FE!

Janet Bill
CC:

Office of RESPA and Interstate Land Sales

Office of Housing, Room 9154

US Department of Housing and Urban Development
45] Seventh Street SW

Washington, DC - 20410

 

Qualified Written Request Loan No: <Account No> Page 3 of 4
 

Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 30 of 38

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Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 32 of 38

Fulton County Superior Court
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Date: 7/2/2019 1:52 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

 

 

STATE OF GEORGIA
JANET HILL, )
) CIVIL ACTION FILE
Plaintiffs, ) NO. 2018CV309704
)
Vv. )
)
RUBIN LUBLIN and BAYVIEW LOAN )
SERVICING, LLP, )
)
Defendants. )
)

 

ORDER DENYING PLAINTIFF’S REQUEST
FOR EMERGENCY TEMPORARY RESTRAINING ORDER

This matter came before this Court for hearing on Plaintiff Janet Hill’s “Emergency
Motion to Restrain Defendants’ Foreclosure Attempts Pending Substantive Rulings” on Monday,
June 3, 2019, Counsel for all parties were present and made arguments.

Based on the arguments and application of case law, namely Hill v. Bank of New York
Mellon, No. 15-21621-CIV, 2015 WL 12780630 (S.D. Fla. Aug. 31, 2015), and Ames v. JP
Morgan Chase Bank, N.A,, 298 Ga, 732, 783 S.E.2d 614, 620 (2016), Plaintiff cannot meet the
requirements for emergency injunctive relief.

NOW, THEREFORE, IT IS HEREBY ORDERED that Plaintiffs Motion is DENIED.
Additionally, Plaintiffs counsel requested to withdraw during the June 3, 2019 hearing. That
request is GRANTED and Stephen J. Pritchett and the law firm of Townsend & Lockett, LLC
are relieved from their representation as Plaintiff has elected to proceed pro se for the remainder
of this litigation.

[signature appears on following page]
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 33 of 38

 

SO ORDERED this 27" day of June, 201 ped. if

Hon. Thomas A. Cox, Jr, (_ (
Superior Court of Fulton County \—~
Atlanta Judicial Circuit

 
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 34 of 38

Fulton County Superior Court
**EFILED***AC

Date: 7/2/2019 1:23 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA
JANET HILL, )
) CIVIL ACTION FILE
Plaintiffs, ) NO, 2018CV309704
)
v. )
)
RUBIN LUBLIN and BAYVIEW LOAN )
SERVICING, LLP, )
)
Defendants. )
)

 

ORDER GRANTING DEFENDANT BAYVIEW LOAN SERVICING, LLP’S
MOTION TO DISMISS

This matter comes before the Court on Defendant Bayview Loan Servicing, LLP’s
(“Bayview”) March 13, 2019 Motion to Dismiss, Or in The Alternative, Motion for Summary
Judgment regarding the Complaint filed by Plaintiff Janet Hill pursuant to O.C.G.A. § 9-11-
12(b)(6) and O.C.G.A. § 9-11-56.

NOW, THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED that Defendant’s
Motion to Dismiss is GRANTED for the reasons set forth in the “Memorandum of Law in
Support” as the Complaint fails to state a claim upon which relief could be granted. This case is
DISMISSED WITH PREJUDICE in its entirety.

SO ORDERED this 28" day of June, 2019.

    
 

Hon. Thomas A. Cox, Ir
Superior Court of Fulton County
Atlanta Judicial Circuit
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Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 35 of 38

Fulton County Superior Court
“*EFILED*"* QW

Date: 6/25/2021 7:56 AM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA
Case # 2018CV309704
JANET HILL,
PRO SE
VOLUNTARY DISMISSAL
Plaintiff,
VS.
RUBIN LUBLIN and
BAYVIEW LOAN SERVICING
Defendants.

 

 

 

 

MOTION FOR —yoLUNTARY DISMISSAL
COMES NOW Janet Hill herein, (“Plaintiff), and respectfully requests to the
Honorable Judge Cox, to dismiss her appeal to the State of Georgia Appellate court
without prejudice. The Notice of Appeal was filed in Fulton County Superior Court
July 19, 2019, amended August 9, 2019. Wherefore, this honorable court is asked to
dismiss this action, instanter.
Respectfully submitted, this day June 24, 2021. ;
Janet Hill
Pro Se
543 Auburn Avenue
Atlanta, GA 30312

All Rights Reserved
/sf Janet FE

JANET HILL

 

 
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Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 36 of 38

CERTIFICATE OF SERVICE

I, the undersigned, HEREBY CERTIFY that a true and correct copy of the above has been furnished to:

Allison Rhadans
McGUIREWOODS, LLP
1230 Peachtree Street, NE
Suite 1200, Promenade II
Atlanta, GA 30309
arhadans(@mequirewoods.com
Attorney for Bayview

 

Brett Chaness

Rubin Lublin

3145 Avalon Ridge Place NW
Suite 100

Peachtree Corners, GA 30071
Attorney for Rubin Lublin

Submitted on this 24" day of June 2021

/s/ Gunct FEM

Janet Hill

543 Aubum Ave. N.E.,
Atlanta, Georgia 30312
Pro Se

All Rights Reserved

 
Case 1:21-cv-03750-WMR-CCB Document 5-12 Filed 09/17/21 Page 37 of 38

Fulton County Superior Court
FE FILED***AC

Date: 6/29/2021 12:09 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA
JANET HILL,
Plaintiff,

Vv. Civil Action No. 2018CV309704
RUBIN LUBLIN, and

BAYVIEW LOAN SERVICING LLP
Defendants.

 

FINAL ORDER

WHEREAS, this matter came before the Court for a hearing on June 28, 2021 on: (1)
Defendant Bayview Loan Servicing LLP’s Motion to Dismiss Plaintiff Janet Hill’s Notices of
Appeal and Amended Notices of Appeal filed in July 2019 and August 2019 (collectively
“Appeals”), and (2) Plaintiff Janet Hill’s Motion to Voluntary Dismiss her Appeals.

The Court finds that there 1s just cause for the Court to grant Plaintiff Janet Hill’s Motion
to Voluntary Dismiss her Appeals.

The Court finds that Defendant Bayview Loan Servicing LLP’s Motion to Dismiss Plaintiff
Janet Hill’s Appeals is therefore MOOT.

NOW, THEREFORE, IT IS HEREBY ORDERED, DECLARED, AND ADJUDGED that
Plaintiff Janet Hill’s Motion to Voluntary Dismiss her Appeals is GRANTED. It is further

ORDERED, DECLARED, AND ADJUDGED that the Appeals are DISMISSED
WITHOUT PREJUDICE. It is further

ORDERED, DECLARED, AND ADJUDGED that the CLERK OF COURT shall CLOSE
THIS CASE.

SO ORDERED, this Z ay of

     

idee Thomas A. Cox, Jr.
Fulton County Superior Court
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DISTRIBUTION LIST

Janet Hill
543 Auburn Avenue
Atlanta, Georgia 30312

Allison Rhadans, Esq.
McGulrREWoops LLP
Suite 2100, Promenade II
1230 Peachtree Street NE
Atlanta, GA 30309

Bret J. Chaness, Esq.
Rubin Lublin LLC
3145 Avalon Ridge Place NW Suite 100
Peachtree Corners, GA 30071
